 Contract Incentive Detail - HVAC
 Period : September 2023
                                                                                                                                  EXHIBIT C
EMPLOYEE INFORMATION

 Employee                  : Timothy P Butler                                                                       Job Code                : J07683

 Employee ID               : 1152987                                                                                Plan                    : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

 Branch/Dept               : N42 - 0000                                                                             Plan Effective Date     : 1/10/2019

 Manager                   : Patrick T McGuire                                                                      Manager ID              : 1260393

 Pay Suspend               : No
  INCENTIVE SUMMAR

 Contract Number                                 First Period   Cont Type   Status              Vol          GM     Credit Split %    Estimated Total     Incentive Paid to     Estimated Remaining
                                                                                                                                      Incentive           Date                  Incentive

                                                                                                                                             $3,496.36             $3,496.36                     $0.00
                                                                                                                                            $23,909.00            $23,909.00                     $0.00
 1-115492217482                                  02/01/2022     PSA         Active        $34,458.00   $11,478.58          100%              $1,136.38               $852.28                   $284.10


 1-120891685696                                  10/01/2022     L&M         Closed        $16,549.00    $5,699.80          100%                $359.46               $359.46                     $0.00

 1-121783736356                                  04/01/2023     L&M         Closed         $4,547.36    $2,852.81          100%                $236.43               $236.43                     $0.00

 1-121965471481                                  12/01/2022     L&M         Closed         $1,457.00    $1,391.17          100%                 $94.16                $94.16                     $0.00
 1-123134654190                                  11/01/2022     L&M         Closed        $29,630.00   $15,334.93          100%              $1,266.77             $1,266.78                    $-0.01
 1-124619226062                                  01/01/2023     L&M         Closed        $11,098.19    $4,043.99          100%                $252.14               $252.14                     $0.00

 1-127298403977                                  07/01/2023     L&M         Closed         $3,357.00    $2,308.71          100%                $184.66               $184.67                    $-0.01

 1-127483594287                                  02/01/2023     PSA         Active         $3,357.00    $1,711.34          95%                 $301.79               $226.34                    $75.45


 1-127514122335                                  02/01/2023     PSA         Active        $90,896.00   $45,435.86          0%                    $0.00                 $0.00                     $0.00

 1-127633569901                                  05/01/2023     L&M         Closed         $9,212.00    $5,725.83          100%                $476.30               $476.30                     $0.00

 1-128547980111                                  04/01/2023     L&M         Closed         $6,283.00    $3,165.20          100%                $287.86               $287.86                     $0.00

 1-128663599331                                  05/01/2023     L&M         Closed         $1,898.00    $1,019.89          100%                 $90.14                $90.14                     $0.00
 1-128753012330                                  04/01/2023     PSA         Active        $25,486.00   $16,979.66          100%              $2,101.24             $1,575.93                   $525.31


 1-129840834109                                  08/01/2023     L&M         Closed         $5,477.33    $2,742.90          100%                $250.13               $250.14                    $-0.01

 1-131127801834                                  09/01/2023     L&M         Closed         $4,821.00    $3,800.61          100%                $289.48               $289.48                     $0.00

 1N420090                                        12/01/2020     PSR         Transferred   $54,166.39   $17,781.50          100%              $1,426.22             $1,426.22                     $0.00

 1N420142                                        03/01/2021     Prime       Active        $96,330.00   $35,629.64          100%              $2,802.86             $1,973.58                   $829.28

 1N420144                                        03/01/2021     Prime       Active        $81,964.00   $30,763.43          100%              $2,599.03             $1,883.01                   $716.02




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 1N420145                NSC KC C-Cure Transition    03/01/2021     Prime       Active        $374,227.13    $128,488.70          100%             $11,070.53             $8,079.95                   $2,990.58
                         Main



 Report Generation Date: November 30, 2023                                                    Page 1 of 9                                                  Questions?



 Contract Incentive Detail - HVAC
 Period : September 2023

EMPLOYEE INFORMATION

 Employee                      : Timothy P Butler                                                                          Job Code                : J07683

 Employee ID                   : 1152987                                                                                   Plan                    : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

 Branch/Dept                   : N42 - 0000                                                                                Plan Effective Date     : 1/10/2019

 Manager                       : Patrick T McGuire                                                                         Manager ID              : 1260393

 Pay Suspend                    : No
  INCENTIVE SUMM

 Contract Number                                     First Period   Cont Type   Status                 Vol          GM     Credit Split %    Estimated Total     Incentive Paid to     Estimated Remaining
                                                                                                                                             Incentive           Date                  Incentive

 1N420211                                            04/01/2021     PSR         Transferred   $174,781.00    $102,329.42          80%               $6,387.74             $6,387.75                      $-0.01

 1N420284                                            06/01/2021     Prime       Closed         $47,200.00     $17,922.27          100%              $1,510.43             $1,510.43                      $0.00

 1N420299                                            06/01/2021     PSR         Transferred   $136,586.21     $27,701.82          100%              $2,456.81             $2,456.81                      $0.00

 1N420307                                            06/01/2021     Prime       Closed         $54,026.00     $16,084.04          20%                 $286.85               $286.85                      $0.00

 1N420324                                            07/01/2021     PSR         Transferred    $61,637.00     $19,496.74          100%              $1,573.90             $1,573.90                      $0.00

 1N420363                                            08/01/2021     Prime       Closed        $156,205.00     $53,468.43          100%              $4,258.57             $4,258.57                      $0.00

 1N420390                                            08/01/2021     Prime       Closed         $42,173.00     $11,609.40          100%              $1,056.70             $1,056.70                      $0.00

 1N420406                                            09/01/2021     Prime       Active         $55,478.00     $13,271.88          20%                 $226.45               $164.67                     $61.78
 1N420420                                            09/01/2021     Prime       Transferred         $0.00          $0.00          0%                    $0.00                 $0.00                      $0.00

 2N420022                                            10/01/2021     PSR         Closed         $24,051.00     $11,635.07          100%                $936.08               $936.08                      $0.00

 2N420045                                            10/01/2021     Prime       Closed         $54,549.00     $16,703.06          100%              $1,356.22             $1,356.22                      $0.00

 2N420048                                            10/01/2021     PSR         Closed         $39,479.00     $18,571.20          100%              $1,501.47             $1,501.47                      $0.00

 2N420051                                            11/01/2021     PSR         Closed         $21,781.00     $10,904.50          15%                 $123.47               $123.47                      $0.00

 2N420084                                            11/01/2021     PSR         Closed         $43,977.00     $16,910.49          100%              $1,322.45             $1,322.45                       $0.00
 2N420085                                            11/01/2021     Prime       Active        $190,042.00     $54,240.04          100%              $4,462.15             $3,199.72                   $1,262.43

 2N420086                                            11/01/2021     Prime       Active         $85,511.00     $25,862.80          100%              $2,104.68             $1,502.72                    $601.96
 2N420142                                            01/01/2022     Prime       Closed          $3,848.00      $1,518.05           15%                 $22.18                $22.17                      $0.01
 2N420144                                            01/01/2022     PSR         Transferred    $34,174.00     $11,245.47           53%                $479.57               $479.57                      $0.00




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 2N420148                                            01/01/2022     PSR         Transferred     $6,674.00      $2,696.37          100%                $209.34               $209.34                      $0.00

 2N420166                                            02/01/2022     PSR         Transferred    $32,787.00     $14,412.32          100%              $1,105.96               $770.51                     $335.45
 2N420173                                            02/01/2022     Prime       Active        $795,076.89    $214,521.60          100%             $17,843.54            $12,850.55                   $4,992.99
 2N420179                                            02/01/2022     PSR         Closed         $26,796.00     $11,687.98          100%                $958.12               $958.12                       $0.00

 2N420185                                            02/01/2022     PSR         Closed         $14,321.00      $8,791.09          100%                $681.27               $681.27                      $0.00

 2N420189                                            02/01/2022     PSR         Transferred    $15,165.00      $8,602.54          100%                $674.43               $674.43                      $0.00



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 Contract Incentive Detail - HVAC
 Period : September 2023

EMPLOYEE INFORMATION

 Employee                      : Timothy P Butler                                                                          Job Code                : J07683

 Employee ID                   : 1152987                                                                                   Plan                    : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

 Branch/Dept                   : N42 - 0000                                                                                Plan Effective Date     : 1/10/2019

 Manager                       : Patrick T McGuire                                                                         Manager ID              : 1260393

 Pay Suspend                    : No
  INCENTIVE SUMMA

 Contract Number                                     First Period   Cont Type   Status                 Vol          GM     Credit Split %    Estimated Total     Incentive Paid to     Estimated Remaining
                                                                                                                                             Incentive           Date                  Incentive

 2N420192                                            03/01/2022     PSR         Transferred    $14,321.00      $8,646.61          100%                $671.66               $671.66                      $0.00

 2N420198                                            03/01/2022     PSR         Transferred    $14,321.00      $8,549.14          100%                $665.18               $665.18                      $0.00

 2N420200                                            03/01/2022     PSR         Transferred    $14,321.00      $8,572.86          100%                $666.76               $666.76                      $0.00

 2N420201                                            03/01/2022     PSR         Transferred    $15,165.00      $9,069.64          100%                $705.49               $705.49                      $0.00

 2N420206                                            03/01/2022     PSR         Active         $20,190.00      $8,654.47          100%                $711.81               $510.38                    $201.43

 2N420222                                            03/01/2022     Prime       Active        $956,528.00    $236,075.80          90%              $18,003.08            $13,057.88                   $4,945.20

 2N420245                                            04/01/2022     PSR         Closed         $10,976.00      $4,301.50          10%                  $33.54                $33.54                      $0.00

 2N420254                                            04/01/2022     Prime       Closed         $21,891.00      $7,207.13          100%                $577.78               $577.78                      $0.00

 2N420255                                            04/01/2022     Prime       Transferred    $43,776.00      $4,938.16           80%                $420.30               $420.30                      $0.00
 2N420256                                            04/01/2022     PSR         Transferred    $59,992.00     $20,145.68          100%              $1,609.65             $1,609.65                      $0.00

 2N420262                                            05/01/2022     PSR         Transferred     $6,994.00      $4,611.81          100%                $338.16               $338.16                      $0.00

 2N420265                                            05/01/2022     PSC         Active        $294,606.00     $94,005.64          44%               $7,577.11             $5,389.12                   $2,187.99

 2N420266                                            05/01/2022     PSC         Active        $232,712.00     $79,998.06          100%              $6,367.07             $4,505.12                   $1,861.95




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 2N420278                                            07/01/2022     PSR         Transferred     $14,321.00       $9,535.55          100%                $718.43               $718.43                      $0.00

 2N420284                                            06/01/2022     Prime       Closed          $94,656.00      $30,269.12          100%              $1,939.41             $1,939.41                      $0.00

 2N420297                                            06/01/2022     PSR         Transferred     $35,984.00      $12,202.68          100%                $772.06               $558.52                    $213.54

 2N420299                                            06/01/2022     PSC         Active          $82,264.00      $27,392.14          20%                 $551.57               $455.70                     $95.87

 2N420311                                            09/01/2022     PSR         Transferred    $105,134.00      $32,956.22          8%                  $212.09               $212.09                      $0.00
 2N420312                                            06/01/2022     PSR         Transferred     $38,613.00      $12,819.20          77%                 $814.72               $814.72                      $0.00

 2N420318                                            06/01/2022     PSR         Closed            $6,500.00      $3,311.94          100%                $275.28               $275.29                      $-0.01

 2N420329                                            07/01/2022     Prime       Active          $16,774.00       $2,816.00          100%                $216.28               $167.00                     $49.28




 Report Generation Date: November 30, 2023                                                      Page 3 of 9                                                  Questions?



 Contract Incentive Detail - HVAC
 Period : September 2023

EMPLOYEE INFORMATION

 Employee                      : Timothy P Butler                                                                            Job Code                : J07683

 Employee ID                   : 1152987                                                                                     Plan                    : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

 Branch/Dept                   : N42 - 0000                                                                                  Plan Effective Date     : 1/10/2019

 Manager                       : Patrick T McGuire                                                                           Manager ID              : 1260393

 Pay Suspend                    : No
  INCENTIVE SUMMAR

 Contract Number                                     First Period   Cont Type   Status                   Vol          GM     Credit Split %    Estimated Total     Incentive Paid to     Estimated Remaining
                                                                                                                                               Incentive           Date                  Incentive

 2N420330                                            07/01/2022     PSR         Closed          $23,739.00      $13,491.18          100%              $1,075.17             $1,075.17                      $0.00

 2N420332                                            08/01/2022     PSR         Transferred     $46,450.00      $25,496.45          100%              $2,058.69             $2,058.68                      $0.01

 2N420335                                            07/01/2022     PSR         Active          $49,943.00       $8,927.15          10%                 $671.10               $514.87                    $156.23

 2N420340                                            07/01/2022     PSC         Active         $672,921.00     $143,876.10          29%              $10,221.95             $7,704.11                   $2,517.84

 2N420341                                            09/01/2022     Prime       Active        $1,077,592.00    $228,070.52          100%             $16,252.69            $12,261.45                   $3,991.24

 2N420353                                            09/01/2022     PSR         Active                $1.00          $0.00          100%                  $0.02                 $0.01                      $0.01

 2N420362                                            08/01/2022     PSR         Active          $16,731.00       $6,549.94          100%                $402.79               $288.16                    $114.63

 2N420363                                            08/01/2022     PSR         Transferred       $6,194.00      $3,355.65          100%                $195.65               $136.93                     $58.72

 2N420366                                            08/01/2022     PSR         Active         $101,235.00      $44,356.00          10%                 $379.28               $304.30                     $74.98
 2N420367                                            08/01/2022     PSR         Transferred     $17,185.00       $7,514.81          10%                  $66.56                $66.56                      $0.00




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 2N420370                                            08/01/2022     PSC         Active          $64,150.00    $10,541.92           15%                $241.44               $196.64                     $44.80
 2N420376                                            08/01/2022     Prime       Closed          $18,638.00     $5,174.93          100%                $342.62               $342.62                      $0.00

 2N420378                                            08/01/2022     PSR         Active          $16,320.00     $7,653.54          100%                $658.08               $524.14                    $133.94

 2N420398                                            08/01/2022     Prime       Transferred    $114,804.00    $24,467.02          100%              $1,739.97             $1,739.97                      $0.00

 2N420401                                            09/01/2022     PSR         Transferred     $16,019.00     $9,757.34          100%                $559.96               $559.96                      $0.00

 2N420402                                            09/01/2022     PSR         Active         $323,868.00    $95,799.91          100%              $6,247.41             $2,894.41                   $3,353.00

 2N420413                                            09/01/2022     PSR         Active          $76,012.00    $29,578.31           15%                $414.25               $305.17                    $109.08
 2N420421                                            09/01/2022     Prime       Transferred      $5,822.34       $483.67          100%                 $50.38                $50.38                      $0.00

 2N420425                                            09/01/2022     Prime       Transferred     $47,453.26    $11,090.61          100%                $768.07               $768.07                      $0.00

 2N420426                                            09/01/2022     PSR         Transferred      $2,782.00     $1,136.19          100%                $103.76               $103.76                      $0.00
 2N420427                                            09/01/2022     Prime       Transferred    $186,818.00    $52,293.62          100%              $3,455.36             $3,455.36                      $0.00

 2N420429                                            10/01/2022     PSR         Active               $1.00         $0.00           84%                  $0.01                 $0.00                      $0.01
 2N420437                                            09/01/2022     PSR         Transferred     $12,211.00         $0.00          100%                 $39.57                $39.57                      $0.00
 2N420439                                            10/01/2022     PSR         Active         $218,882.00    $84,847.31           10%                $793.61               $645.13                    $148.48



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 Contract Incentive Detail - HVAC
 Period : September 2023

EMPLOYEE INFORMATION

 Employee                      : Timothy P Butler                                                                          Job Code                : J07683

 Employee ID                   : 1152987                                                                                   Plan                    : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

 Branch/Dept                   : N42 - 0000                                                                                Plan Effective Date     : 1/10/2019

 Manager                       : Patrick T McGuire                                                                         Manager ID              : 1260393

 Pay Suspend                    : No
  INCENTIVE SUMMAR

 Contract Number                                     First Period   Cont Type   Status                  Vol         GM     Credit Split %    Estimated Total     Incentive Paid to     Estimated Remaining
                                                                                                                                             Incentive           Date                  Incentive

 2N420440                                            10/01/2022     PSR         Active          $96,385.00    $32,150.43           90%              $1,837.13             $1,330.76                    $506.37
 3N420005                                            09/01/2022     PSC         Transferred,     $8,025.00     $3,280.29           13%                 $38.32                $30.98                      $7.34
 3N420007                                            09/01/2022     PSR         Transferred     $26,133.00    $12,324.84          100%              $1,057.24             $1,057.24                      $0.00

 3N420026                                            12/01/2022     PSR         Active          $26,788.00    $10,177.58          100%                $960.94               $782.83                    $178.11

 3N420060                                            02/01/2023     PSR         Active          $70,878.00     $9,526.26          100%                $866.14               $699.43                    $166.71

 3N420061                                            11/01/2022     Prime       Active          $23,470.00    $14,627.38          100%              $1,127.44               $871.47                    $255.97

 3N420071                                            12/01/2022     PSR         Active          $24,298.00     $7,600.57          100%                $489.37               $356.36                    $133.01



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 3N420075                                            12/01/2022     PSR         Active        $167,293.00    $90,914.42          10%                 $736.87               $577.77                    $159.10

 3N420091                                            12/01/2022     Prime       Active         $27,700.00    $15,706.88          100%              $1,252.78               $977.91                    $274.87

 3N420108                                            01/01/2023     PSR         Active          $5,027.00     $2,095.84          20%                  $37.91                $26.38                     $11.53

 3N420120                                            01/01/2023     PSR         Active        $110,825.00    $44,573.03          10%                 $409.88               $331.87                     $78.01

 3N420121                                            01/01/2023     PSR         Active         $24,631.00    $13,979.41          100%              $1,114.62               $869.98                    $244.64

 3N420122                                            01/01/2023     Prime       Transferred     $7,741.75     $2,832.81          100%                $272.29               $272.29                      $0.00

 3N420124                                            01/01/2023     Prime       Active         $54,487.00    $24,241.17          100%              $2,131.52             $1,707.30                    $424.22

 3N420126                                            02/01/2023     PSC         Active        $309,109.00    $72,461.72          10%                 $532.32               $278.70                    $253.62

 3N420127                                            02/01/2023     PSC         Active        $192,179.00    $59,129.87          91%               $3,667.51             $1,776.36                   $1,891.15

 3N420130                                            01/01/2023     Prime       Transferred     $2,982.00      $934.55           10%                   $7.52                 $7.51                      $0.01

 3N420135                                            02/01/2023     PSC         Transferred    $21,816.00     $4,410.88          10%                  $34.05                $26.34                      $7.71

 3N420137                                            02/01/2023     Prime       Transferred     $1,421.00      $809.55           100%                 $48.30                $48.30                      $0.00

 3N420138                                            02/01/2023     PSR         Transferred     $6,753.00     $3,067.13          95%                 $277.99               $277.99                      $0.00

 3N420142                                            02/01/2023     PSR         Active         $34,528.00    $14,365.63          100%              $1,430.41             $1,179.01                    $251.40




 Report Generation Date: November 30, 2023                                                    Page 5 of 9                                                 Questions?



 Contract Incentive Detail - HVAC
 Period : September 2023

EMPLOYEE INFORMATION

 Employee                      : Timothy P Butler                                                                         Job Code                : J07683

 Employee ID                   : 1152987                                                                                  Plan                    : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

 Branch/Dept                   : N42 - 0000                                                                               Plan Effective Date     : 1/10/2019

 Manager                       : Patrick T McGuire                                                                        Manager ID              : 1260393

 Pay Suspend                    : No
  INCENTIVE SUMMAR

 Contract Number                                     First Period   Cont Type   Status                 Vol         GM     Credit Split %    Estimated Total     Incentive Paid to     Estimated Remaining
                                                                                                                                            Incentive           Date                  Incentive

 3N420143                                            02/01/2023     PSR         Active         $10,388.00     $4,579.24          100%                $443.20               $363.07                     $80.13

 3N420147                                            02/01/2023     Prime       Transferred    $10,071.00      $418.44           100%                 $76.31                $76.31                      $0.00

 3N420148                                            02/01/2023     Prime       Transferred    $70,885.95    $31,905.81          95%               $3,375.93             $3,375.94                      $-0.01



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 3N420149                                           02/01/2023     Prime       Active          $4,365.00     $2,341.28          95%                 $230.25               $181.60                     $48.65

 3N420151                                           02/01/2023     Prime       Active        $302,554.00    $62,411.84          100%              $4,784.64             $3,692.43                   $1,092.21

 3N420153                                           02/01/2023     Prime       Transferred         $0.00         $0.00          0%                    $0.00                 $0.00                      $0.00

 3N420158                                           03/01/2023     Prime       Transferred     $4,013.98     $1,625.95          100%                $164.10               $164.10                      $0.00

 3N420159                                           02/01/2023     PSR         Active         $14,750.25     $9,073.55          95%                 $720.01               $569.16                    $150.85

 3N420163                                           03/01/2023     PSC         Active         $24,067.00     $3,588.07          10%                  $31.18                $18.62                     $12.56

 3N420164                                           03/01/2023     PSC         Active         $18,450.00     $4,798.95           90%                $307.28               $156.12                    $151.16
 3N420165                                           03/01/2023     Prime       Transferred    $12,034.49     $5,068.61          100%                $501.64               $501.64                      $0.00

 3N420168                                           03/01/2023     PSR         Transferred    $28,160.00    $14,783.86          100%              $1,319.99             $1,319.99                      $0.00

 3N420169                                           03/01/2023     Prime       Active         $24,350.00     $9,762.01          100%                $990.34               $819.51                    $170.83

 3N420177                                           04/01/2023     Prime       Active         $29,822.39    $10,354.92          100%              $1,132.82               $770.40                    $362.42

 3N420181                                           03/01/2023     PSR         Active         $59,435.00    $22,308.46           10%                $234.13               $156.05                     $78.08
 3N420185                                           04/01/2023     Prime       Active          $3,473.00     $1,191.38          100%                $131.19               $110.35                     $20.84

 3N420190                                           03/01/2023     Prime       Active         $48,512.00    $19,560.28          100%              $1,978.59             $1,636.29                    $342.30

 3N420194                                           04/01/2023     Prime       Transferred     $3,790.76       $711.07          100%                 $56.40                $56.40                      $0.00
 3N420195                                           04/01/2023     PSR         Active         $14,321.00     $6,135.40          100%                $602.16               $494.79                    $107.37

 3N420199                                           04/01/2023     PSR         Active        $129,890.00    $62,451.96          5%                  $290.08               $225.46                     $64.62

 3N420209                                           04/01/2023     Prime       Active         $12,403.00     $6,564.59          100%                $584.05               $469.18                    $114.87

 3N420214                                           04/01/2023     Prime       Active         $14,826.00     $6,597.04          100%                $635.63               $404.74                    $230.89



 Report Generation Date                                                                      Page 6 of 9                                                 Questions?



 Contract Incentive Detail - HVAC
 Period : September 2023

EMPLOYEE INFORMATION

 Employee                     : Timothy P Butler                                                                         Job Code                : J07683

 Employee ID                  : 1152987                                                                                  Plan                    : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

 Branch/Dept                  : N42 - 0000                                                                               Plan Effective Date     : 1/10/2019

 Manager                      : Patrick T McGuire                                                                        Manager ID              : 1260393

 Pay Suspend                   : No
  INCENTIVE SUMMARY

 Contract Number          Contract Name             First Period   Cont Type   Status                 Vol         GM     Credit Split %    Estimated Total     Incentive Paid to     Estimated Remaining



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                                                                                                                               Incentive             Date                Incentive

 3N420215                                           04/01/2023   Prime   Active    $14,826.00    $6,841.06          100%                   $647.83           $408.40                     $239.43

 3N420221                                           04/01/2023   PSR     Active    $73,921.00   $35,225.02          100%               $3,285.89            $2,609.22                    $676.67

 3N420226                                           05/01/2023   PSR     Active     $7,630.00    $2,540.67          20%                     $33.80            $16.01                      $17.79

 3N420227                                           05/01/2023   Prime   Active     $2,127.00     $520.71           100%                    $37.74            $28.62                       $9.12

 3N420230                                           05/01/2023   PSR     Active   $139,007.00   $53,859.73          40%                $2,224.02            $1,847.01                    $377.01
 3N420231                                           05/01/2023   PSR     Active    $65,524.00   $26,536.96          95%                $2,544.36            $1,903.51                    $640.85

 3N420233                                           06/01/2023   Prime   Active     $6,997.00    $2,379.59          100%                   $263.28           $221.64                      $41.64

 3N420234                                           05/01/2023   PSR     Active    $33,119.00   $15,277.94          100%               $1,446.96             $912.23                     $534.73

 3N420235                                           06/01/2023   Prime   Active    $22,210.00   $10,051.67          100%                   $960.65           $659.09                     $301.56

 3N420237                                           05/01/2023   PSR     Active    $19,537.00    $7,814.83          10%                     $79.39            $60.47                      $18.92

 3N420241                                           08/01/2023   PSR     Active   $123,325.00   $58,077.76          15%                    $817.11           $512.20                     $304.91

 3N420258                                           06/01/2023   Prime   Active     $7,858.00    $3,172.12          100%                   $399.26           $343.75                      $55.51

 3N420260                                           06/01/2023   PSC     Active    $36,274.00   $11,607.89          100%                   $779.90           $373.63                     $406.27

 3N420263                                           06/01/2023   PSR     Active    $42,867.00    $9,979.07          100%                   $734.72           $385.46                     $349.26

 3N420283                                           06/01/2023   PSR     Active    $21,326.00   $20,213.94          100%               $1,450.53            $1,096.79                    $353.74

 3N420284                                           06/01/2023   Prime   Active    $62,946.00   $26,823.48          100%               $2,639.42            $1,700.60                    $938.82

 3N420295                                           07/01/2023   PSR     Active   $154,864.00   $43,192.71          100%               $3,011.39            $1,499.64                   $1,511.75

 3N420296                                           07/01/2023   PSR     Active   $281,730.00   $77,447.40          10%                    $542.19           $271.12                     $271.07

 3N420298                                           06/01/2023   Prime   Active    $14,826.00    $7,280.37          100%                   $669.79           $542.39                     $127.40

 3N420299                                           06/01/2023   Prime   Active     $3,938.00    $1,751.72          95%                    $186.33           $149.93                      $36.40

 3N420300                                           06/01/2023   Prime   Active    $78,853.91   $17,648.36          100%               $1,316.12            $1,007.27                    $308.85



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 Contract Incentive Detail - HVAC
 Period : September 2023

EMPLOYEE INFORMATION

 Employee                      : Timothy P Butler                                                            Job Code                 : J07683

 Employee ID                   : 1152987                                                                     Plan                    : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

 Branch/Dept                   : N42 - 0000                                                                  Plan Effective Date     : 1/10/2019



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 Manager                       : Patrick T McGuire                                                                    Manager ID             : 1260393

 Pay Suspend                    : No
  INCENTIVE SUMMA

 Contract Number                                     First Period   Cont Type   Status            Vol          GM     Credit Split %   Estimated Total    Incentive Paid to     Estimated Remaining
                                                                                                                                       Incentive          Date                  Incentive

 3N420304                                            07/01/2023     PSR         Active    $27,390.00      $8,157.28         10%                  $55.85               $27.30                  $28.55

 3N420309                                            08/01/2023     PSR         Active   $386,781.00    $179,175.97        100%              $16,936.17            $10,665.02              $6,271.15

 3N420312                                            07/01/2023     Prime       Active   $269,076.00     $72,893.00        100%               $7,815.33             $6,539.70              $1,275.63

 3N420316                                            07/01/2023     Prime       Active   $136,550.00     $29,452.69        100%               $2,223.65             $1,708.23                $515.42

 3N420320                                            08/01/2023     Prime       Active    $13,437.00      $2,696.00        100%                 $208.70              $161.52                  $47.18

 3N420321                                            08/01/2023     PSR         Active    $35,815.00     $13,679.88        100%               $1,422.67              $943.88                 $478.79

 3N420329                                            09/30/2023     Prime       Active    $33,639.00     $12,782.82        100%               $1,332.93              $885.53                 $447.40

 3N420330                                            08/01/2023     Prime       Active    $38,199.00      $7,307.66        100%                 $575.47              $319.70                 $255.77
 3N420344                                            09/01/2023     Prime       Active    $12,306.00      $2,246.03        100%                 $179.98              $101.37                  $78.61

 3N420352                                            09/01/2023     Prime       Active    $10,102.00      $1,091.90        100%                 $110.16               $71.94                  $38.22
 3N420354                                            09/01/2023     PSC         Active    $16,312.00      $7,686.55        100%                 $720.78              $451.75                 $269.03

 3N420355                                            09/30/2023     Prime       Active     $7,215.00      $2,835.68        100%                 $290.58              $191.34                  $99.24

 3N420356                                            09/30/2023     Prime       Active   $168,229.00     $33,645.80        100%               $2,607.55             $1,429.95              $1,177.60

 3N420358                                            09/30/2023     Prime       Active    $45,083.00     $12,404.31        100%                 $868.18              $434.02                 $434.16

 3N420364                                            09/01/2023     PSR         Active    $14,973.00      $8,039.24        100%                 $710.77              $429.40                 $281.37

 3N420368                                            09/30/2023     PSC         Active   $769,184.00    $153,836.80        100%              $11,922.35             $6,538.06              $5,384.29

 3N420372                                            09/30/2023     Prime       Active    $12,099.00      $2,310.91        100%                 $182.09              $101.20                  $80.89

 3N420373                                            09/30/2023     Prime       Active    $11,235.00      $4,269.30        100%                 $445.18              $295.75                 $149.43

 3N420376                                            09/30/2023     Prime       Active    $27,806.81      $5,005.23        100%                 $403.20              $228.02                 $175.18


 Total                                                                                                                                      $304,757.83           $238,943.19             $65,814.69




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 Contract Incentive Detail - HVAC
 Period : September 2023

EMPLOYEE INFORMATION



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Employee                      : Timothy P Butler                                                                    Job Code                : J07683

Employee ID                   : 1152987                                                                             Plan                    : SCPI - ZZZ DO NOT USE SIP BSNA HVAC Security and Fire
                                                                                                                    Sales Rep (SCPI)
Branch/Dept                   : N42 - 0000                                                                          Plan Effective Date     : 1/9/2008

Manager                       : Patrick T McGuire                                                                   Manager ID              : 1260393

Pay Suspend                    : No
 INCENTIVE SUMMA

Contract Number                                     First Period   Cont Type   Status            Vol         GM     Credit Split %    Estimated Total    Incentive Paid to      Estimated Remaining
                                                                                                                                      Incentive          Date                   Incentive

9N420109                                            12/01/2018     PSR         Closed   $178,855.00    $28,853.07         10%                  $393.23              $393.23                     $0.00
9N420188                                            03/01/2019     Prime       Active    $40,000.00         $0.00         10%                   $24.58               $24.58                     $0.00

9N420482                                            09/01/2019     Prime       Closed    $23,450.00    $22,458.38        100%                $1,765.88            $1,765.88                     $0.00

B09000.455.1.003.00_                                               PSA                  $795,497.74                       95%               $35,896.84           $35,896.84                     $0.00
6
Total                                                                                                                                       $38,080.54           $38,080.53                     $0.00




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